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IN THE UNITED STATES DISTRICT COURT

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FOR THE WESTERN DISTRICT OF NEW YORK <>

FILED >

OCT 30 2024

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= LOE WENGUTHA Sh
RONALD MUHAMMAD, erp PMeNCULS OF Ww
Plaintiff, )
) Case No: 22-CV-6025-FPG-MJP
vs. )
) USMJ Mark Pedersen
ANTHONY ANNUCCLI, et al, )
)
Defendant(s). )
)

MOTION TO AMEND SECOND COMPLAINT TO ADD CLAIM FOR
RETALIATORY DISCRIMINATION

COMES NOW, Plaintiff RONALD MUHAMMAD, in and for himself Pro
Se, now moves this honorable court pursuant to Rule 15(a)(2) of the Fed. R. of
Civ. Procedure and the court’s DECISION and ORDER, filed October 24, 2024,
Doc. #84, for an order granting leave to amend his Second Complaint, Doc. #9, to
add a claim for employment retaliation acts in violation of 42 U.S.C. § 2000e, et seq.
(“Title VII of the Civil Rights Act of 1964”), as amended, and the New York State
Human Rights Law (“NYSHRL”), § 290-297 and Executive Law § 296(7).

Rule 15(a)(2) provides, “the court should freely give leave when justice so
requires.” Id. The Supreme Court has instructed that “this mandate is to be heeded.”
Foman vy. Davis, 37] U.S. 178, 182 (1962). Ultimately it is “within the sound discretion
of the court whether to grant leave to amend.” John Hancock Mut. Fife Ins. Co. v.
Amerford Im’l Corp., 22 F.3d 458, 462 (2d Cir. 1994) (citing Foman, 371 U.S. at 178).

The courts generally consider whether “the moving party has unduly delayed or

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acted in bad faith, the opposing party will be unfairly prejudiced if leave is granted, or
the proposed amendment is futile.” These factors do not exist here. In support thereof,
MUHAMMAD thus sayeth the following:

(1) The Defendants egregiously suspended him from duty without pay and

moved to terminate his employment in bad faith, in order to unlawfully prevent

him from participating in this court’s discovery process, to obstruct and subvert
this court’s judicial process and dissuade him from prosecuting his legitimate

claims before this court.
(2) |. MUHAMMAD was recently served a NOTICE OF DISCIPLINE (“NOD”)

by the Defendant(s) dated October 15, 2024. Pursuant to the Defendant’s NOD,

MUHAMMAD was suspended from employment without pay and the Defendants are

now seeking the penalty of termination. See attached Defendant’s NOD and

attachment.

(3) The Defendant’s NOD alleges the following misconduct, which states

the following:

“DISMISSAL FROM SERVICE AND LOSS OF ANY ACCRUED ANNUAL LEAVE”
“The reason for this discipline is misconduct as follows:

1, On October 4, 2024, at approximately 4:00 p.m., while assigned to Five
Points Correctional Facility you were found to have introduced and/or
possessed contraband on facility grounds in violation of DOCCS
Employees’ Manual §2.2, §2.16, §2.23, §2.30, and/or DOCCS Directive
#4936, Search of DOCCS Employees, Attachment A, Staff Allowable
Items. Specifically, Lieutenants Jeffrey Rorick and John Wade retrieved
approximately 267 unapproved copies of the "Final Call" newsletter that
belong to you from desk drawers and filing cabinets in the Chaplain

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area,

2. On or sometime prior to October 4, 2024, while assigned to Five Points
Correctional Facility you failed to follow proper protocol in violation of
DOCCS Employees' Manual §2.2, §2.16, $2.23, §2.30, and/or DOCCS
Di.ective #4936, Search of DOCCS Employees, Attachment A, Staff
Allowable Items. Specifically, you failed to apply for gates passes and
complete Form 3084, Record of Donations - Volunteer Services for 267
copies of the "Final Call" newsletter."

3, On October 11, 2024, at approximately 8:45 a.m., while on duty at Five
Points Correctional Facility you failed to exercise respectful
communication in the workplace, in violation of DOCCS Employees'
Manual §2.2, §2.23, and §2.7. Specifically, when Officer Donna Kobbe
advised you that she was going to conduct a frisk search you became
defiant and stated in sum or substance that "as an employee I am not
subject to frisk searches."

4. On October 11, 2024, at approximately 8:45 a.m., while on duty at Five
Points Correctional Facility you were found to introduce and or possess
contraband on facility grounds in violation of DOCCS Employees'
Manual §2.2, §2.16, §2.23, §2.30, and/or DOCCS Directive #4936,
Sc uch of OOCCS Employees, Attachment A, Staff Allowable Items.
Specifically, when Officer Donna Kobbe conducted a frisk search of
your person you were found to be in possession of 2 unapproved copies
of the "Final Call" newsletter.

5. On October 11, 2024, at approximately 8:45 a.m., while on duty at Five
Points Correctional Facility you failed to follow proper protocol in
violation of DOCCS Employees’ Manual §2.2, §2.16, §2.23, §2.30,
and/or DOCCS Directive #4936, Search of OOCCS Employees,
Attachment A, Staff Allowable Items. Specifically, you failed to apply
for gates passes and complete Form 3084, Record of Donations -
Volunteer Services for 2 copies of the "Final Call" newsletter,"

(4) Here, the Defendant’s contrived baseless disciplinary charges against
MUHAMMAD are undeniably analogous to his claims before this court and currently

in the discovery process.

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(5) The Defendant’s illicit retaliation is clearly intended to unlawfully
discourage him and other state employee witnesses from testifying in this proceeding in
his lawful pursuit of judicial remedies. It violates his civil rights under 42 U.S.C. § 2000e,
et seq. (“Title VII of the Civil Rights Act of 1964”), as amended, and the New York State
Human Rights Law (“NYSHRL”), § 290-297 and Executive Law § 296(7).

(6) Their unambiguous timing of administrative charges during this court’s
discovery process is consistent with their long history of ongoing pattern and practice of
abject employment discrimination.

(7) Tho Defendant’s unbridled abject misconduct conduct to suspend him
without pay and seek termination of his employment upon charges currently before this
court, sfanding alone, may be deemed substantial credible evidence of their animus and
intent to “dissuade a reasonable worker” from supporting this discrimination cause of
action. Burlington Northern & Santa Fe Railway Co. v. White, 548 U.S. 53 (2006); NYS
Division of Human Rights v. St. Elizabeth’s Hospital (1991).

(8) The overt catisal connection between the Defendant’s gratuitous
administrative charges and his profected activity in acquiring production of records and
admissions during this court’s discovery process, is an obstruction of justice offense by
unduly influencing, impeding, and interfering with the judicial administration of this
court, 18 U.S.C. § 1503 and § 1512, Fischer v. United States, (broadly to cover coercive
behavior that obstructs the administration of justice.); United States v. Saget, (The court
held that the omnibus clause of § 1503 should be interpreted broadly to inchide any

conduct that interferes with the fair administration of justice.)

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(9) The court’s order granting leave to amend my prior second amended
complaint to include the instant retaliation claim will not unduly delay this proceeding, is
not done in bad faith or with dilatory motive, will not prejudice the Defendants, this cause
emerged proximate to this pleading, it is directly related to the instant action, it is a sound
and substantial that is likely to prevail upon which relief will likely be granted, Foman v.
Davis, 371 U.S. 178 (1962); Burlington Coat Factory Sec. Litig., 114 F.3d 1410 (3d Cir.
1997).

DATED: October 30, 2024

CONCLUSION

WHEREFORE, upon the forgoing plea, MUHAMMAD respectfully moves this
honorable court for an order granting leave to amend his second complaint, filed

under Doc. #9, to add a Title VII claim for unlawful employment retaliation, upon the
attached THIRD AMENDED COMPLAINT to be adjudged by the court. Thank you.

Respectfully submitted,

FOR THE PLAINTIFF
RONALD MUHAMMAD:

py: nak WiuhinmaL

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Rochester, New York 14619

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Email: ronald_muhammad@yahoo.com

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 30" day of October 2024, did cause a true
and correct vopy of the foregoing MOTION TO AMEND THE THIRD COMPLAINT
TO ADD CLAIM FOR RETALIATORY DISCRIMINATION and THIRD
AMENDED COMPLAINT attached hereto, to be filed with the Clerk of the Court and
did furnish a true copy to the Defendant’s counsel of record as named below by

electronic mail:

py, eal Wihinimad

RONALD MUHAMMAD, Chaplin

Letitia James

ATTORNEY GENERAL

Muditha Halliyadde

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Counsel for ANTHONY ANNUCCL, et al,

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

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Plaintiff(s), CERTIFICATE OF SERVICE

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Defendant(s).

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upon all other parties in this case
by mailing | by hand-delivering]| (O [>0 l Z2y | (check the method you
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I declare under penalty of perjury that the foregoing is true and correct, to the best of my
knowledge, information and belief. ——
Executed on __O l 3, Ay :

(date) (vour signature)

